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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF NEW YORK


MOMODOU TAAL, MŨKOMA WA NGŨGĨ, and
SRIRAM PARASURAMA,

                    Plaintiffs,
      v.                                       Case No. 3:25-cv-000335-ECC-ML

DONALD J. TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND SECURITY;
and KRISTI NOEM, in her official capacity as
Secretary of the U.S. Department of Homeland
Security;

                    Defendants.




     PLAINTIFFS’ REPLY IN SUPPORT OF MOTIONS FOR PRELIMINARY
          INJUNCTION AND TEMPORARY RESTRAINING ORDER




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                                       INTRODUCTION

       Defendants acknowledge they are attempting to remove Momodou Taal (“Mr. Taal”) from

the United States because he is a pro-Palestinian activist who attended a protest at Cornell

University in August 2024. Their alleged authority for doing so is the Executive Orders. The Court

should grant Plaintiffs’ motions for Temporary Restraining Orders.

                               ADDITIONAL BACKGROUND

       On Wednesday, March 19 – four days after Plaintiffs initiated this lawsuit – Defendant

DHS visited Mr. Taal’s place of residence in what Defendants acknowledge was an attempt to

detain him. ECF No. 30-1 ¶ 5. That afternoon, Plaintiffs filed an emergency motion for a TRO and

request for an Order to Show Cause asking the Court to enjoin Defendants from attempting to

detain or remove Mr. Taal pending the adjudication of the initial TRO motion. ECF No. 25. At

12:52 A.M. on Friday, March 21, Defendants asked Mr. Taal to surrender to ICE custody and

accept service of a purported NTA. ECF No. 25. Later that night, at 7:29 P.M., the Department of

State informed Mr. Taal that his F-1 Visa was revoked. ECF No. 30-3.

       Defendants now state Mr. Taal’s NTA is based on 8 U.S.C. §1227(a)(1)(B), which deems

removable individuals whose visas have been revoked. ECF No. 30 ¶ 4. Defendants also state this

determination was based on the fact that Mr. Taal “had been involved with disruptive protests

. . . .” ECF No. 30 ¶ 4. Defendants claim Mr. Taal is removable because he attended “one such

protest” which “involved Taal entering a hotel behind individuals who had used force to gain entry

to it as a means of disrupting a Cornell University career fair . . . .” ECF No. 30-3 ¶ 4. Mr. Taal

was present for roughly five minutes.1 He did not face any criminal charges or immigration



1
  Miles Klee, Cornell Student Who Attended Pro-Palestine Protest Could Be Forced to Leave
U.S., ROLLING STONE MAGAZINE (Sept. 26, 2024), https://www.rollingstone.com/culture/culture-
features/cornell-protest-palestine-immigration-1235112444/.
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  consequences, and Cornell did not conclude he engaged in violence. Id. ¶¶ 2-3; ECF No. 30-2 ¶ 8;

  Ex. D, E.

         On March 14, hours before Plaintiffs filed the present lawsuit, Defendants claim they

  initiated a rapid and highly coordinated inter-agency process to revoke Mr. Taal’s visa. Though

  Defendants’ declarations do not provide a reason for the sudden urgency to address the protest that

  had taken place six months prior, Defendants assert that they initiated and finalized a multi-agency

  review of the evidence of Mr. Taal’s protest activity, weighed the potential statutory grounds upon

  which he could be deemed removable, underwent the time-consuming review mandated by the

  State Department for non-immigrant visa revocation by the Foreign Affairs Manual (“FAM”) 2 and

  determined that it was necessary to revoke Mr. Taal’s visa all on the same day. ECF No. 30-3 ¶ 4-

  5; ECF 30-1 ¶ 4.

                                            ARGUMENT

I.    This Court Has Jurisdiction

      A. The Immigration and Nationality Act Does Not Strip Jurisdiction Over Outrageous
         Government Actions Like Those Here

         Defendants’ contention that the purported March 14 NTA deprives the Court of jurisdiction

  is incorrect. Even if Defendants’ version of events is true, the underlying issue is that Defendants

  are retaliating against Mr. Taal for engaging in speech with which it disagrees. “Outrageous” acts

  of retribution are reviewable despite 8 U.S.C. 1252(g). Reno v. American-Arab Anti-

  Discrimination Comm., 525 U.S. 471, 491-92 (1999) (“AADC”). In AADC, six non-citizen




  2
   See 9 F.A.M. 403.11 (available at https://fam.state.gov/fam/09FAM/09FAM040311.html). The
  FAM sets out special rules governing NIV revocations, including for “High Profile Cases” where
  “[h]asty action…must be avoided in such high-profile visa cases…” 9 FAM 403.11-4(C)(1). The
  Federal Regulations do not provide “protesting” as a basis for revoking F-1 status. See 8 C.F.R. §
  214.1(e)-(f).
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plaintiffs who had overstayed their visas and were removable for that reason alleged they were

also targeted for removal for the additional reason that they were affiliated with a designated

Foreign Terrorist Organization (“FTO”). The Court held, “[A]n alien unlawfully in this country

has no constitutional right to assert selective enforcement as a defense against his deportation.” Id.

at 488. It rejected this “selective enforcement” argument but held, “[W]e need not rule out the

possibility of a rare case in which the alleged basis of discrimination is so outrageous that the

foregoing considerations can be overcome.” Id. at 491.

        In Ragbir v. Homan, 923 F.3d 53 (2d Cir. 2019), rev’d on other grounds, 141 S. Ct. 227

(2020), the Second Circuit retained jurisdiction over a constitutional challenge to a final order of

removal, holding that that the government’s decision to re-arrest activist Ravi Ragbir because of

his political statements constituted the type of “outrageous” retribution envisioned by the Supreme

Court in AADC. The Second Circuit established a four-part test, explaining: “AADC compels

courts to evaluate [1] the gravity of the constitutional right affected; [2] the extent to which the

plaintiff’s conduct or status that forms the basis for the alleged discrimination is actually protected;

[3] the egregiousness of the Government's alleged conduct; and [4] the plaintiff’s interest in

avoiding selective treatment, as balanced against the Government’s discretionary prerogative.” Id.

at 69. Defendants’ actions here qualify as “outrageous” under this test.

        The Constitutional Right Affected Is Grave. Mr. Taal unquestionably satisfies this

prong. The Second Circuit held that Ragbir’s criticisms of U.S. immigration policy constituted

speech that “implicates the apex of protection under the First Amendment” and touched on matters

of public concern that therefore “occup[y] the highest rung of the hierarchy of First Amendment

values.” Id. at 69-70. Similar to Ragbir, Mr. Taal regularly engages in speech critical of U.S.

policy, as well as the policies of the Israeli government.



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       Defendants’ Retaliation Is Egregious. The second prong of the Ragbir test asks whether

the government-imposed immigration consequences are based on viewpoint discrimination. The

Second Circuit looked to “Ragbir’s plausible allegations and evidence,” which showed that the

government targeted him based on “the viewpoint of his political speech” and on “the public

attention it received.” Id. at 70. Here, Defendants admit they are targeting Mr. Taal because ICE

identified him as “a prominent pro-Palestinian activist involved in protests,” ECF No. 30-2 ¶ 6,

and that his “involvement in certain protests at Cornell University align with the Executive Order’s

focus on deporting individuals who perpetrate ‘unlawful anti-Semitic harassment’.” Id. ¶ 9

(Emphasis added); see also ECF No. 30-3 ¶ 4-5. Statements by Defendant Trump and associates

outlined in the Complaint make clear Defendants’ aim is to chill speech. See ECF No. 1 ¶ 6-9.

       Mr. Taal Has A Significant Interest in Avoiding Selective Deportation. Mr. Taal has a

strong interest in avoiding removal. In Ragbir, the Second Circuit noted that the plaintiff there had

been convicted of a crime and that this indicated his removal was punitive. Id. at 71-72. Here, the

effort by Defendants to remove Mr. Taal is likewise punitive. Defendants acknowledge that the

purpose of issuing the NTA was to punish him for engaging in past protest activity. ECF No. 30-

2 ¶¶ 6, 9; ECF No. 30-3 ¶¶ 4-5. Moreover, unlike the plaintiffs in AADC who were removable for

other reasons, Defendants concede the only basis for Mr. Taal’s removal is his protected speech.

       Defendants’ National Security Interest Is Nil. The last prong asks the Court to weigh

“the Government’s interest in having unchallenged discretion to deport” an individual. Ragbir,

923 F.3d at 72. The Second Circuit noted that “national-security and foreign-policy concerns about

terrorism were primary in AADC, and the Court expressed misgivings that a court proceeding

allowing inquiry into the ‘real reasons’ why the Government sought to deport the plaintiffs would

compromise intelligence sources and foreign relations.” Id. Defendants make no such argument



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here, relying instead on Mr. Taal’s First Amendment activity. There is no allegation he threatens

national security. All four prongs of the Ragbir test militate strongly in Mr. Taal’s favor – even

more strongly than they did for Ragbir himself. Because Defendants’ conduct is outrageous, this

Court has jurisdiction regardless of when Defendants commenced proceedings.

    B. Article II Does Not Override Article III

        Defendants are implementing the Orders by “conduct[ing] targeted analysis to substantiate

[non-citizens’] alleged engagement of antisemitic activities” and otherwise identifying non-

citizens “subject to the Executive Order” to recommend for removal. ECF No. 30-2 ¶¶ 4-5. In Mr.

Taal’s case, ICE asked the State Department to re-consider his visa because he was “involved in

protests.” Id. ¶¶ 6, 10. The Orders are no mere “internal directives,” ECF No. 30 at 12, but are

directions to arrest individuals based on their speech.

        The Orders are subject to constitutional review. See Trump v. Hawaii, 585 U.S. 667, 699

(2018). “[It is] untenable to conclude that there are no judicially enforceable limitations on

presidential actions . . . so long as the President claims that he is acting pursuant to [applicable

law].” Chamber of Com. of the U.S. v. Reich, 74 F.3d 1322, 1332 (D.C. Cir. 1996) (emphasis in

original). The Court should reject Defendants’ emphasis on internal reporting. Plaintiffs challenge

the orders to the extent they violate the First and Fifth Amendments, and no further. “[C]ourts have

the power to compel subordinate executive officials to disobey illegal Presidential commands.”

Open Soc’y Justice Initiative v. Trump, 510 F. Supp. 3d 198, 214 (S.D.N.Y. Jan. 4, 2021) (quoting

Soucie v. David, 448 F.2d 1067, 1072 n.12 (D.C. Cir. 1971).

    C. The Requirements of Article III Standing Are Satisfied

        Defendants’ arguments that Plaintiffs’ claims are not ripe and that Plaintiffs’ have not

suffered an injury in fact both rely on the assertion that their injuries are too speculative to satisfy



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      the requirements of Article III. ECF No. 30 ¶¶ 9, 11. In situations like this, “the ripeness inquiry

      is the same as the analysis of whether Plaintiffs have suffered an injury in fact for the purpose of

      establishing standing.” Open Soc’y, 510 F. Supp. 3d. at 208. In the First Amendment context, the

      injury-in-fact requirement is satisfied when the plaintiff reasonably fears that their speech will

      result in adverse government action. See Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159

      (2014). Here, Defendants purport to have issued an NTA, and this should end the inquiry.3

             Defendants also argue that Plaintiffs’ injuries are not redressable because even if the

      Executive Orders’ directives are unconstitutional, the statutory mechanisms by which they would

      be achieved are not, so the same course of action is available to the government with or without

      an injunction. “Acts generally lawful may become unlawful when done to accomplish an unlawful

      end . . . .” Western Union Tel. Co. v. Foster, 247 U.S. 105, 114 (1918). The Court has the authority

      to enjoin Defendants from using any lawful authorities referenced in the Executive Orders to attain

      the unlawful end of punishing dissenting viewpoints.

II.       A Nationwide Injunction Is Appropriate

          A. Plaintiffs’ Constitutional Claims Are Substantially Likely to Succeed

             1. Attending a Protest in the U.S. Is Not a Valid Basis for Removing a Non-Citizen

             Mr. Taal has developed substantial connections to the United States and the First

      Amendment unquestionably applies to him. Bridges v. Wixon, 326 U.S. 135 (1945); U.S. v.

      Verdugo-Urquidez, 494 U.S. 259 (1990). Attending a protest constitutes protected First

      Amendment expressive speech and activity. See Snyder v. Phelps, 562 U.S. 443, 452 (2011).



      3
       Defendants cite Murthy v. Missouri for the proposition that “Plaintiffs’ ‘right to hear’ confers
      no standing” on the citizen-Plaintiffs because doing so would “allow[] everyone in the country to
      add a derivative lawsuit for every First Amendment challenge.” ECF 30 at 10, n.9. That is not
      Plaintiffs’ argument. Murthy held that right-to-listener standing is established where “the listener
      has a concrete, specific connection to the speaker,” as here. 603 U.S. 43, 75 (2024).
                                                       6
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Defendants acknowledge that Mr. Taal’s purported removability is based on his attendance of a

protest in August 2024. ECF No. 30-3 ¶ 4. Mr. Taal attended this protest for five minutes, no

criminal charges were filed against him, and Cornell did not subject him to discipline that would

trigger immigration consequences. The government claims Mr. Taal “was twice suspended at

Cornell for harassment, and antisemitic conduct.” ECF No. 30 at 11. They fail to cite any fact to

support this false assertion because there is none. See Ex. D, E.

       Defendants claim that a line of cases which applies to non-citizens located outside the U.S.

means this Court is not bound to apply the First Amendment to millions of immigrants inside the

country. This fails to address Plaintiffs’ explanation that the Bill of Rights applies to non-citizens

like Mr. Taal who have “substantial connections” to the U.S. Johnson v. Eisentragger, 339 U.S.

763 (1950); Verdugo-Urquidez, 494 U.S.; DHS v. Thuraissigiam, 591 U.S. 103 (2020). Defendants

cite Shaughnessey v. U.S. ex rel. Mezei, 345 U.S. 206, 212 (1953), claiming this case stands for

the proposition that the “First Amendment does not protect aliens from deportation because of

membership in the Communist Party.” Mezei was not a deportation case, it was an “exclusion”

case (now called “inadmissibility”), and the distinction is fundamental here. The very page to

which Defendants cite clarifies that non-citizens “who have once passed through our gates” have

rights under the Constitution, while a non-citizen “on the threshold of initial entry stands on an

entirely different footing.” Id. Defendants make the same error with respect to Kleindienst v.

Mandel, 408 U.S. 753 (1972) and Dep’t of State v. Muñoz, 602 U.S. 899 (2024) which are likewise

inapplicable here.

       The INA does not bar attending a protest; this comes from the Orders. Defendants claim

Mr. Taal is “subject to the commencement of removal proceedings with or without those Orders.”

ECF No. 30 at 14. Not so. There is no provision of the INA which bars non-citizens residing in the



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U.S. from attending a protest or any of the other reasons cited by Defendants’ declarants, which

include being “a prominent pro-Palestinian activist,” engaging in “loud chants” or causing too

much “noise,” “disorderly behavior,” “following individuals” into a building, demonstrating “a

disregard for the university policies,” “failing to follow University directives,” and “involvement

in certain protests.” ECF No. 30-2 ¶¶ 6-9. Defendants fail to cite a single case where any federal

or administrative court has deemed a non-citizen removable under any statutory ground simply for

attending a protest in the U.S. The only “authority” upon which Defendants base their actions are

the statements of Defendant Trump in the Fact Sheet accompanying publication of the second

Order, where he promised to order the Defendants to do exactly what he has done to Mr. Taal: “To

all the resident aliens who joined in the pro-jihadist protests, we put you on notice: come 2025, we

will find you, and we will deport you.” ECF No. 1 ¶ 7. Defendants’ investigation into Mr. Taal’s

speech and protest attendance did not begin until after the Orders were issued and Defendant DHS

says the authority to investigate and remove Mr. Taal derives from the Orders. ECF No. 30-3 ¶ 4.

Finally, Defendants’ claim (ECF No. 30-1 ¶ 4) that the State Department’s visa revocation decision

was based on the INA and not the Orders falls flat because the State Department’s declarant relied

almost verbatim on language from the second Order and accompanying Fact Sheet in his

explanation that “Taal had been involved with disruptive protests and had engaged in an escalating

pattern of behavior, disregarding university policies and creating a hostile environment for Jewish

students.” ECF No. 30-1 ¶ 4.

       2. Defendants Are Wrong on the Merits of the First Amendment Claims

       All of the lawful applications Defendants claim are covered by the Orders are already

covered by statute. What is new is the restriction on speech critical of the U.S. government, its

institutions, American culture, and the government of Israel. This clearly constitutes a content- or



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viewpoint-based restriction on speech. The INA contains no such provision because it would be

unconstitutional. Plaintiffs have shown that a substantial number of the Orders’ applications are

unconstitutional in relation to any plainly legitimate sweep. Americans for Prosperity Found. v.

Bonta, 594 U.S. 595, 615 (2021) (quotation omitted).4

       3. The Orders Are Reviewable for Overbreadth and Vagueness

       Defendants overstate the limits on the Court’s ability to review the Orders on overbreadth

and vagueness grounds. There is no such categorical rule. The question is whether the Orders

regulate Plaintiffs. See F.C.C. v. Fox T.V. Stations, Inc., 567 U.S. 239, 253 (2012). They do. In

Santa Cruz Lesbian & Gay Comty. Ctr. v. Trump, the plaintiffs challenged an executive order that

directed agencies to make changes to various internal government contracting and grant

mechanisms to ensure contracts and grants would not be awarded to organizations that “promot[ed]

a list of ‘divisive concepts’. . . .” 508 F. Supp. 3d. 521, 528 (N.D. Cal. Dec. 22, 2020). There, as

here, the order did not impose direct penalties on individuals, but rather directed agencies to change

policies that could result in individual consequences, and that is sufficient. Id. at 543-45. Plaintiffs

here are no less subject to immigration and criminal enforcement shaped by the Orders than the

contractors were by the internal grant criteria shaped by the order in Santa Cruz, and the potential

penalties are far more severe here. Because the Orders expose individuals to punitive enforcement,

they are subject to review for overbreadth and vagueness.

    B. Plaintiffs Have Been and Will Continue to Be Irreparably Harmed by the Orders

       The attempted arrest and purported issuance of an NTA strengthens all Plaintiffs’ ability

to show irreparable harm. Defendants claim that “to the extent that Plaintiffs fear that the EOs



4
 There can be no compelling or even legitimate interest in chilling speech criticizing the U.S.
government or the government of Israel, and attending a protest falls squarely within the core
protections of the First Amendment. See Snyder, 562 U.S. at 452.
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allow removals and prosecutions based on speech and association, and have consequently limited

their own speech and association, their fears are unfounded based on the EOs content, as well as

speculative and remote.” ECF No. 30 at 25. This cannot be squared with the three sworn

declarations from law enforcement officials admitting Mr. Taal was purportedly issued an NTA

because he attended a protest in August 2024 and is a pro-Palestinian activist. Defendants take the

position that it is lawful for them to arrest and remove a non-citizen for “involvement with

disruptive protests” (ECF No. 30-3 ¶ 5) on U.S. territory and for being a “prominent pro-

Palestinian activist” (ECF No. 30-2 ¶ 6), but also that the threat any non-citizen would face removal

for First Amendment activity is “speculative and remote.” These positions are incompatible.

Defendants also claim that the risk of their recent actions are speculative because anything they do

under the EO’s is inherently lawful, given that each Order states that they “shall be implemented

consistent with applicable law,” and that “applicable law necessarily include[s] the First

Amendment.” ECF No. 30 at 25. Defendants cannot save themselves from constitutional scrutiny

with magic words like these. Plaintiffs have therefore established irreparable injury.

   C. A National Injunction Is Appropriate and In the Public Interest

       Millions of people are situated similarly to Plaintiffs. The Executive Orders are in effect

nationwide, and their chill is felt by non-citizens and citizens who want to continue lawfully

protesting government action or listen to such speech. Defendant Trump explicitly stated that

Mahmoud Khalil’s arrest pursuant to the Orders was “the first arrest of many to come.” ECF No.

1 ¶ 55. The Orders widespread impact requires a nationwide remedy to prevent ongoing harm to

affected parties who have not yet been identified or arrested. The threat to punish protected speech

is unconstitutional in every application and in every location. A nationwide injunction is the

appropriate mechanism to remedy such a profound affront to the Constitution.



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                                        CONCLUSION

       For these reasons, the Court should grant Plaintiffs’ requests for a preliminary injunction

and temporary restraining order.


 Dated: March 23, 2025                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2025, I electronically filed this response with the Clerk

of the Court for the United States District Court for the Northern District of New York by using

the CM/ECF system. Counsel in this case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                                                            By: s/Eric Lee




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